Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 1 of 7




                       Exhibit G
         Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 2 of 7
Michael R. Bromwich
202 429 8167
mbromwich@steptoe.com

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Washington, DC 20036-1795
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                                        October 2, 2020


Honorable Emmet G. Sullivan
United States District Judge
United States District Court for the
      District of Columbia
333 Constitution Ave., NW
Washington, DC 20001

        Re:      United States v. Michael T. Flynn, Case No. 17-CR-232

Dear Judge Sullivan:

       We write to the Court in this matter on behalf of our client, former FBI Deputy
Director Andrew G. McCabe. It has come to our attention that on September 24, 2020,
in the above captioned case, counsel for the defendant filed its Third Supplement in
Support of Agreed Dismissal. As part of that filing, at page 9, counsel stated the
following:

        “Newly produced notes of Andrew McCabe show that at 5:15 pm on May 10,
        2017, McCabe briefed the Senate Select Committee on Intelligence. They were
        trying very hard to pin something on General Flynn. Exhibit B.”

Exhibit B is a heavily redacted page from one of Mr. McCabe’s personal notebooks that
he maintained during his service as FBI Deputy Director.

      The date “5/10/17” that appears on Exhibit B is not in Mr. McCabe’s
handwriting and he did not enter the date that now appears there. Further, contrary to
counsel’s claim, Mr. McCabe did not brief the Senate Intelligence Committee on
anything on May 10. That was the day after President Trump had fired FBI Director
Comey and Mr. McCabe was consumed with various other responsibilities. Mr.
       Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 3 of 7

Letter to Honorable Emmet G. Sullivan
October 2, 2020
Page 2

McCabe did participate in a public Senate Select Committee on Intelligence hearing and
closed briefing on worldwide threats, along with other intelligence community officials,
on May 11. Neither the public hearing nor the secret briefing had anything to do with
Mr. Flynn. Counsel did not seek to confirm the accuracy of its claims with Mr. McCabe
or us about Mr. McCabe’s notes before filing the Third Supplement.

       It is ironic that the Department of Justice has provided Mr. McCabe’s notes to
counsel for Mr. Flynn at the very same time it is denying Mr. McCabe access to his
personal notes that have been requested to help prepare for his scheduled testimony
before the Senate Judiciary Committee on October 6, 2020. Our requests for his
personal notebooks and daily calendars have been denied in full because they are
purportedly voluminous and burdensome. Indeed, we have filed a request for
investigation with the Office of the Inspector General for the Department of Justice
Department to pursue the issue of why those materials have been wrongfully withheld
and on whose orders.

      Please let us know if you require any further information.


                                               Respectfully submitted,




                                               Michael R. Bromwich




                                               Rachel B. Peck
         Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 4 of 7




From: Jesse Binnall <jbinnall@harveybinnall.com>
Sent: Monday, October 5, 2020 3:15 PM
To: Bromwich, Michael <mbromwich@Steptoe.com>; Peck, Rachel <rpeck@steptoe.com>
Cc: Sidney Powell <sidney@federalappeals.com>
Subject: Your Correspondence to the Court in United States v. Flynn

Dear Counsel:

Please see attached.

Best regards,

Jesse Binnall

--
Jesse R. Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
(703) 888-1943
(703) 888-1930 (fax)
jbinnall@harveybinnall.com

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replying to this e-mail. Thank you.
         Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 5 of 7




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VIA Email



                                             October 5, 2020

Michael R. Bromwich, Esquire
Rachel B. Peck, Esquire
1330 Connecticut Avenue, NW
Washington, DC 20036-1795
mbromwich@steptoe.com
rpeck@steptoe.com


                RE:          Your Communication to the Court in United States v. Flynn

Dear Mr. Bromwich and Ms. Peck:

        On October 2, 2020 you emailed a letter to Judge Emmet Sullivan regarding factual
assertions and other arguments made by your client, Andrew McCabe. As you know, facts
are presented to a court by the parties through the adversarial system, not by strangers to
the litigation by email. Indeed, just months ago the Supreme Court, in an opinion authored
by late-Justice Ginsburg, held that trial courts and appellate courts alike are bound by the
principle of party presentation. United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579
(2020). Parties present evidence and courts decide based on that evidence. Your invitation
to Judge Sullivan that he eschew this duty, as further explained in Canon 3(4) of the Code
of Conduct for United States Judges, was improper and a violation of your duties as
attorneys. See, e.g., D.C. Rules of Professional Conduct 3.5(a), Comment 1; New York Rules
of Professional Conduct 3.5(a)(1).
       Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 6 of 7



Letter to Bromwich and Peck
October 5, 2020
Page 2


       If justice prevails, Mr. McCabe will one day soon be a party to a federal criminal case
arising from his knowing and willful violations of General Flynn’s civil rights, among his
many other crimes. At that point, he can make any factual or legal arguments he wishes to
the court presiding over his case. Until then, please cease all further communications with
courts to which Mr. McCabe is not a party.



                                        Sincerely,



                                        Jesse R. Binnall
                                        Sidney Powell
           Case 1:17-cr-00232-EGS Document 261-8 Filed 10/07/20 Page 7 of 7




---------- Forwarded message ---------
From: Bromwich, Michael <mbromwich@steptoe.com>
Date: Mon, Oct 5, 2020 at 7:27 PM
Subject: RE: Your Correspondence to the Court in United States v. Flynn
To: Jesse Binnall <jbinnall@harveybinnall.com>, Peck, Rachel <rpeck@steptoe.com>
CC: Sidney Powell <sidney@federalappeals.com>


Dear Mr. Binnall:

Thanks very much for your letter dated today, and for the instruction on our obligations as
attorneys. We will study the citations in your letter with the care they deserve.

Our understanding is that in a filing similar to ours, counsel for Peter Strzok, pointed out
falsifications of Mr. Strzok’s notes included with your Third Supplement in Support of Agreed
Dismissal. Our letter pointed out that your filing misrepresented Mr. McCabe’s notes and included
an incorrect date placed in these notes by someone other than Mr. McCabe. In light of Judge
Sullivan’s response to Mr. Strzok’s filing (at pp. 91-92 of the September 29, 2020 hearing), we
thought the cause of justice would be advanced by exposing the misrepresentations in your filing as
they relate to Mr. McCabe. In addition, we thought it important to point out facts that would tend
to prove a violation of Rules of Professional Conduct 3.3: Candor to Tribunal because of your
failure to confirm the accuracy of your representations as to Mr. McCabe.

If you make further misrepresentations as to Mr. McCabe in the pending proceedings, rest assured
we will point them out to the Court.

Best.

MRB
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